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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                       Case No. 19-13563-mg

      JCV GROUP, LLC,                                        Chapter 11


                Debtor-in-Possession

                 DEBTOR’S APPLICATION PURSUANT TO 11 U.S.C.
          §§ 327(a) AND 328(a) OF THE BANKRUPTCY CODE AND FED. R.
         BANKR. P. 2014 (a) AND 2016(b) FOR AUTHORIZATION TO RETAIN
         AND EMPLOY MEDINA LAW FIRM LLC AS ATTORNEYS FOR THE
                DEBTOR NUNC PRO TUNC TO THE PETITION DATE

         JCV Group LLC, (“Debtor” or “JCV”), by and through its proposed attorneys, MEDINA

LAW FIRM LLC, hereby moves the Court for the entry of an order: (a) authorizing the retention

and employment of MEDINA LAW LLC (the “Firm”) pursuant to sections 327(a) and 328(a) of

title 11, United States Code, section 101 et seq. (the “Bankruptcy Code”), Rules 2014(a) and

2016(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rule

2014-1 of the United States Bankruptcy Code for the Southern District of New York (the “Local

Rules”) authorizing the Debtor to retain and employ the Firm, nunc pro tunc, to the Petition Date

(this “Application”). In support of the Application, the Debtor respectfully represents as follows:

                         I.     INTRODUCTION AND JURISDICTION

         1.       This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 1334 and

157(b). This is a “core proceeding” pursuant to 28 U.S.C. § 157(b)(2)(A), and (M) and (O).

         2.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.



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                                     II.     BACKGROUND

         1.     On November 6, 2019 (the “Petition Date”), the Debtor initiated a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtor is authorized to operate

its business and manage its affairs as a debtor-in-possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. No trustee, examiner or committee has been appointed in its case.

         2.     The Debtor designs and manufactures licensed wholesale baby and pet products

that it sells domestically and internationally. JCV was established in and is based in New York

City, operating from its offices and showroom at 65 West 37th Street, Suite 300, New York,

New York. The relevant factual information concerning the Debtor’s operations and the events

and circumstances leading to the Petition Date are set forth in the Declaration of David Maleh

made pursuant to Local Bankruptcy Rule 1007-2 [Docket Entry No. 4] (the “Maleh Decl.”),

which is incorporated herein by reference.

                  III.    RELIEF REQUESTED AND BASIS THEREFOR

         3.     By this Application, the Debtor seeks Court approval, pursuant to sections 327(a)

and 328(a) of the Bankruptcy code, to retain and employ the Firm as its attorneys in connection

with the commencement, prosecution, and anticipated restructuring in this chapter 11 case, nunc

pro tunc to the Petition Date. The Debtor requests that the Court approve the retention of the

Firm under a general retainer, as its attorneys, to perform the extensive legal services that will be

required during this chapter 11 case, in accordance with the Firm’s normal hourly rates in effect

when services are rendered and with the Firm’s normal reimbursement policies.

         4.     Pursuant to section 327(a) of the Bankruptcy Code, the Debtor, as a debtor-in-

possession it is “authorized to employ professional persons to represent or assist the [the debtor

in possession] in carrying out [its] duties under this title.” See 11 U.S.C. § 327(a). Furthermore,

section 1107(b) of the Bankruptcy Code modifies section 101(14) and 327(a) of the Bankruptcy

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Code in cases commenced under chapter 11 providing that “a person is not disqualified for

employment under section 327(a) of the Bankruptcy Code by a debtor-in-possession solely

because of such person’s employment or representation of the debtor before the commencement

of the case.” See 11 U.S.C. §1107(b). As required by Bankruptcy Rule 2014(a) and Local Rule

2014-1, this Motion and the accompanying declaration set forth: (a) the specific facts showing

the necessity for the Firm’s employment; (b) the reasons for the Debtor’s selection of the Firm as

its restructuring counsel in connection with this chapter 11 case; (c) the professional services to

be provided by the Firm; (d) the arrangement for compensation between the Debtor and the Firm

both prior to and after the commencement of the Debtor’s bankruptcy case (and the

reasonableness thereof); and (e) to the best of the Debtor’s and the Firm’s knowledge the extent

of any connection, if any, to parties in interest or the United States Trustee in this case.

         5.     The Debtor seeks to employ the Firm nunc pro tunc to the Petition Date since the

Firm has rendered extensive services to the Debtor before and after the Petition Date but prior to

its application for retention. Indeed, courts have held generally that where equitable concerns

weigh in favor of granting retroactive approval to enable deserving professionals to recover

compensation for work actually done, that there is nothing in the statute that denies the

bankruptcy court the power to grant such retroactive approval. See In re Motors Liquidation Co.,

438 B.R. 365, 375 (Bankr. S.D.N.Y. 2011) (citing In re Arkansas Co., 798 F.2d 645, 649 (3d Cir.

N.J. 1986). In the instant matter, the impediment which occasioned the Firm’s delay to file its

motion for retention was occasioned by a number of meetings with the Debtor’s principals and

negotiations with interested parties including utilities providers.

         6.     The Debtor selected the Firm as its attorneys because of the Firm’s knowledge of

the Debtor’s business and financial affairs, its experience and knowledge in the area debtor's



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protections and creditors' rights in business reorganizations, including specifically small and

midsize business under chapter 11 of the Bankruptcy Code, and its experience in the areas of

intellectual property licensing and protections in particular regard to the garment and home

furnishing industries.     The Firm’s attorneys have been involved in numerous significant

bankruptcy engagements in this and other districts across the United States, including but not

limited to In re BH S&B Holdings LLC, In re Menotti Enterprise, LLC, In re M. Fabrikant &

Sons, Inc. et al., In re Hayden-Harnett LLC, In re Mayo Inc, In re Picco Inc. et al., In re

Symphony Group, Inc.; In re Waterscape Resort, LLC, In re NY Thymes & Deli, Inc., In re

Cenveo, Inc. et al., In re V.Capp Enterprises, In re Mirant Corporation et al, In re Tarragon

Corporation, et al, and In re Park South Securities, LLC, et al., In re 21st Century Oncology,

LLC, to name only a few.         The Firm actively serves as counsel to debtors-in-possession,

creditors, trustees, and other parties-in-interest in chapter 11 cases in this and other districts.

         7.     In preparing for its representation of the Debtor in this chapter 11 case, the Firm

has become familiar with the Debtor’s business and many of the potential legal issues that may

arise in the context of its chapter 11 case. The Debtor believes that the Firm is both well

qualified and able to represent the Debtor in this chapter 11 case in a most efficient and timely

manner.

         8.     The employment of the Firm is appropriate and necessary to enable the Debtor to

execute faithfully its duties as a debtor-in-possession and to implement the restructuring and

reorganization of the Debtor.

         9.     Subject to further order of this Court, it is proposed that the Firm be employed to:

                (a)      take all necessary action to protect and preserve the
                         Debtor’s estate, including the prosecution of actions on the
                         Debtor’s behalf, the defense of any actions commenced
                         against the Debtor, the negotiation of disputes in which the


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                       Debtor is involved and the preparation of objections to
                       claims filed against the Debtor’s estate;

                (b)    prepare on behalf of the Debtor, as debtor-in-possession, all
                       necessary motions, applications, answers, orders, reports,
                       and other papers in connection with the administration of
                       the Debtor’s estate;

                (c)    negotiate and prepare on behalf of the Debtor a plan of
                       reorganization and all related documents; and

                (d)    perform all other necessary legal services in connection
                       with the prosecution of this chapter 11 case.

         10.    It is necessary for the Debtor to employ attorneys under a general retainer to

render the foregoing professional services.

         11.    The Firm has stated its desire and willingness to act in these cases and render the

necessary professional services as attorneys for the Debtor. As set forth in the accompanying

Declaration of Eric S. Medina in support of this Application annexed hereto as Exhibit “A,” (the

“Declaration”), except as stated therein, no member, employee or attorney associated with the

Firm or on a contractor basis with the Firm, has any connection with or any interest adverse to

the Debtor, its creditors or any other party in interest, or their respective attorneys and

accountants.

         12.    Per the terms of the Engagement Agreement,1 prior to the Petition Date, the Firm

received retainer payments totaling $38,730.00, of which $23,209.24 was exhausted prior to the

commencement of the Debtor’s bankruptcy case.             As further stated in the Engagement

Agreement, the retainer is the earned upon receipt by the Firm. As such, at commencement on

the Petition Date, the Debtor was not indebted to the Firm on account of professional services

rendered prior to the Petition Date. The Firm will apply the balance of retainer funds towards the

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 A copy of which is Annexed to the Declaration of Eric S. Medina accompanying this
Application.


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Firm’s forthcoming post-petition fee and expense applications and following approval by the

Bankruptcy Court thereof.       A chart identifying the billing statements setting forth the

professional services provided by the Firm to the Debtor and the expenses incurred by the Firm

in addition to the advance payment retainers transferred by the Debtor to the Firm are set forth in

the Medina Declaration.

         13.    The Debtor understands that Firm hereafter intends to apply to the Court for

allowances of compensation and reimbursement of expenses in accordance with the applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the guidelines

established by the Office of the United States Trustee for the Southern District of New York (the

“Guidelines”), and further orders of the Court (the “Orders”) for all services performed and

expenses incurred after the Petition Date.

                                        IV.     WAIVER

         14.    The Debtor requests that the Court dispense with the requirement of Local Rule

9013-1(b) for a separate memorandum of law. This Application does not present a novel issue of

law that would require consideration of any authorities other than those set forth herein.

                                         V.     NOTICE

         15.    The Debtor has served notice of this Application and accompanying documents

upon each of the Debtor’s creditors in this case and the United States Trustee.

         16.    The Debtor submits that no other or further notice need be provided.

         17.    No previous request for the relief sought herein has been made by the Debtor to

this or any other court.




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         WHEREFORE, the Debtor respectfully requests entry of an Order, substantially in the

form submitted herewith, granting the relief requested herein and granting such other and further

relief as is just or appropriate.

Dated: New York, New York
       November 20, 2019                            Respectfully submitted,


                                                    By: /s/ Eric S. Medina
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